Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 1 of 269 PageID #: 42
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 2 of 269 PageID #: 43
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 3 of 269 PageID #: 44
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 4 of 269 PageID #: 45




                              Exhibit A
 Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 5 of 269 PageID #: 46



2/22/23 6:29 PM;     3/21/23 6:55 PM       4/16/23 1:30 PM         5/18/23 1:50 PM
2/23/23 1:02 PM      3/22/23 11:03 AM      4/16/23 7:15 PM         5/18/23 6:12 PM
2/23/23 5:52 PM      3/22/23 6:39 PM       4/17/23 12:01 PM        5/19/23 11:07 AM
2/24/23 6:08 PM      3/23/23 12:42 PM      4/17/23 7:07 PM         5/19/23 5:08 PM
2/25/23 12:05 PM     3/23/23 6:45 PM       4/18/23 12:13 PM        5/20/23 11:13 AM
2/25/23 5:47 PM      3/24/23 12:39 PM      4/18/23 6:02 PM         5/20/23 5:15 PM
2/26/23 12:09 PM     3/24/23 6:45 PM       4/19/23 12:02 PM        5/21/23 11:01 AM
2/26/23 6:30 PM      3/25/23 1:04 PM       4/19/23 6:04 PM         5/21/23 11:01 AM (2
2/27/23 12:15 PM     3/25/23 6:53 PM       4/20/23 11:40 AM        at same 8me)
2/27/23 5:54 PM      3/26/23 12:31 PM      4/20/23 6:23 PM         5/22/23 11:13 AM
2/28/23 12:02 PM     3/26/23 7:20 PM       4/21/23 11:51 AM        5/22/23 5:00 PM
2/28/23 5:45 PM      3/27/23 12:28 PM      4/21/23 5:50 PM         5/23/23 11:05 AM
3/1/23 11:27 AM      3/27/23 5:37 PM       4/22/23 1:00 PM         5/23/23 5:02 PM
3/1/23 6:19 PM       3/28/23 12:23 PM      4/22/23 5:44 PM         5/24/23 12:05 PM
3/2/23 12:15 PM      3/28/23 6:11 PM       4/23/23 11:59 AM        5/24/23 5:18 PM
3/2/23 6:12 PM       3/29/23 1:11 PM       4/23/23 6:33 PM         5/25/23 11:17 AM
3/3/23 12:31 PM      3/29/23 6:24 PM       4/24/23 12:20 PM        5/25/23 11:17 AM (2
3/3/23 5:36 PM       3/30/23 12:36 PM      4/24/23 6:40 PM         at same 8me)
3/4/23 11:25 AM      3/30/23 6:00 PM       4/25/23 12:02 PM        5/25/23 5:26 PM
3/4/23 5:21 PM       3/31/23 12:23 PM      4/25/23 6:00 PM         5/26/23 11:08 AM
3/5/23 11:13 AM      3/31/23 6:03 PM       4/26/23 11:48 AM        5/26/23 5:32 PM
3/5/23 6:05 PM       4/1/23 12:17 PM       4/26/23 5:43 PM         5/27/23 11:26 AM
3/6/23 11:01 AM      4/1/23 5:50 PM        4/27/23 11:58 AM        5/27/23 5:03 PM
3/6/23 5:21 PM       4/2/23 12:08 PM       4/27/23 7:17 PM         5/28/23 11:07 AM
3/7/23 11:23 AM      4/2/23 7:21 PM        4/28/23 1:11 PM         5/28/23 5:29 PM
3/7/23 5:53 PM       4/3/23 4:20 PM        4/28/23 6:31 PM         5/29/23 11:10 AM
3/8/23 11:20 AM      4/3/23 5:55 PM        4/29/23 1:14 PM         5/30/23 11:16 AM
3/8/23 6:10 PM       4/4/23 12:15 PM       4/29/23 5:43 PM         5/30/23 5:02 PM
3/9/23 11:21 AM      4/4/23 6:15 PM        4/30/23 11:38 AM        6/1/23 11:07 PM
3/9/23 5:09 PM       4/5/23 12:20 PM       4/30/23 5:40 PM         6/1/23 5:06 PM
3/10/23 11:15 AM     4/5/23 6:55 PM        5/1/23 11:53 AM         6/2/23 11:14 AM
3/10/23 5:18 PM      4/6/23 12:07 PM       5/1/23 5:53 PM          6/2/23 5:08 PM
3/11/23 1:05 PM      4/6/23 6:59 PM        5/2/23 11:34 AM         6/3/23 11:04 AM
3/11/23 5:02 PM      4/7/23 12:59          5/2/23 5:12 PM          6/3/23 5:06 PM
3/12/23 5:17 PM      4/7/23 5:58 PM        5/3/23 11:27 AM         6/4/23 11:14 AM
3/13/23 11:56 AM     4/8/23 12:14 PM       5/3/23 7:08 PM          6/5/23 11:01 AM
3/13/23 6:36 PM      4/8/23 6:12 PM        5/4/23 11:29 AM         6/6/23 5:19 PM
3/14/23 11:17 AM     4/9/23 11:24 AM       5/4/23 6:53 PM          6/7/23 11:18 AM
3/14/23 7:05 PM      4/9/23 6:58 PM        5/5/23 1:06 PM          6/8/23 11:23 AM
3/15/23 1:04 PM      4/10/23 12:03 PM      5/5/23 6:13 PM          6/9/23 11:05 AM
3/15/23 5:20 PM      4/10/23 6:21 PM       5/6/23 11:26 AM         6/10/23 5:01 PM
3/16/23 12:04 PM     4/11/23 11:50 AM      5/6/23 5:00 PM          6/11/23 8:14 PM
3/16/23 6:44 PM      4/11/23 5:51 PM       5/7/23 1:38 PM          6/12/23 11:04 AM
3/17/23 1:07 PM      4/12/23 1:35 PM       5/7/23 6:37 PM          6/13/23 5:13 PM
3/17/23 5:03 PM      4/12/23 6:07 PM       5/15/23 5:33 PM         6/14/23 11:14 AM
3/18/23 5:43 PM      4/13/23 11:54 AM      5/15/23 5:33 PM (2 at   6/15/23 11:08 AM
3/19/23 12:30 PM     4/13/23 5:40 PM       same 8me)               6/16/23 11:39 AM
3/19/23 6:23 PM      4/14/23 12:21 PM      5/16/23 11:19 AM        6/17/23 11:16AM
3/20/23 12:42 PM     4/14/23 6:19 PM       5/16/23 5:11 PM         6/18/23 11:15 AM
3/20/23 6:36 PM      4/15/23 12:04 PM      5/17/23 11:12 AM        6/19/23 12:07 PM
3/21/23 11:15 AM     4/15/23 6:05 PM       5/17/23 6:06 PM         6/20/23 5:22 PM
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 6 of 269 PageID #: 47
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 7 of 269 PageID #: 48
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 8 of 269 PageID #: 49
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 9 of 269 PageID #: 50
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 10 of 269 PageID #: 51
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 11 of 269 PageID #: 52
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 12 of 269 PageID #: 53
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 13 of 269 PageID #: 54
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 14 of 269 PageID #: 55
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 15 of 269 PageID #: 56
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 16 of 269 PageID #: 57
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 17 of 269 PageID #: 58
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 18 of 269 PageID #: 59
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 19 of 269 PageID #: 60
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 20 of 269 PageID #: 61
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 21 of 269 PageID #: 62
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 22 of 269 PageID #: 63
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 23 of 269 PageID #: 64
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 24 of 269 PageID #: 65
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 25 of 269 PageID #: 66
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 26 of 269 PageID #: 67
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 27 of 269 PageID #: 68
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 28 of 269 PageID #: 69
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 29 of 269 PageID #: 70
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 30 of 269 PageID #: 71
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 31 of 269 PageID #: 72
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 32 of 269 PageID #: 73
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 33 of 269 PageID #: 74
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 34 of 269 PageID #: 75
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 35 of 269 PageID #: 76
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 36 of 269 PageID #: 77
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 37 of 269 PageID #: 78
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 38 of 269 PageID #: 79
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 39 of 269 PageID #: 80
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 40 of 269 PageID #: 81
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 41 of 269 PageID #: 82
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 42 of 269 PageID #: 83
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 43 of 269 PageID #: 84
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 44 of 269 PageID #: 85
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 45 of 269 PageID #: 86
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 46 of 269 PageID #: 87
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 47 of 269 PageID #: 88
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 48 of 269 PageID #: 89
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 49 of 269 PageID #: 90
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 50 of 269 PageID #: 91
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 51 of 269 PageID #: 92
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 52 of 269 PageID #: 93
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 53 of 269 PageID #: 94
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 54 of 269 PageID #: 95
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 55 of 269 PageID #: 96
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 56 of 269 PageID #: 97
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 57 of 269 PageID #: 98
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 58 of 269 PageID #: 99
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 59 of 269 PageID #: 100
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 60 of 269 PageID #: 101
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 61 of 269 PageID #: 102
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 62 of 269 PageID #: 103
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 63 of 269 PageID #: 104
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 64 of 269 PageID #: 105
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 65 of 269 PageID #: 106
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 66 of 269 PageID #: 107
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 67 of 269 PageID #: 108
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 68 of 269 PageID #: 109
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 69 of 269 PageID #: 110
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 70 of 269 PageID #: 111
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 71 of 269 PageID #: 112
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 72 of 269 PageID #: 113
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 73 of 269 PageID #: 114
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 74 of 269 PageID #: 115
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 75 of 269 PageID #: 116
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 76 of 269 PageID #: 117
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 77 of 269 PageID #: 118
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 78 of 269 PageID #: 119
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 79 of 269 PageID #: 120
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 80 of 269 PageID #: 121
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 81 of 269 PageID #: 122
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 82 of 269 PageID #: 123
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 83 of 269 PageID #: 124
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 84 of 269 PageID #: 125
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 85 of 269 PageID #: 126
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 86 of 269 PageID #: 127
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 87 of 269 PageID #: 128
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 88 of 269 PageID #: 129
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 89 of 269 PageID #: 130
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 90 of 269 PageID #: 131
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 91 of 269 PageID #: 132
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 92 of 269 PageID #: 133
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 93 of 269 PageID #: 134
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 94 of 269 PageID #: 135
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 95 of 269 PageID #: 136
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 96 of 269 PageID #: 137
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 97 of 269 PageID #: 138
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 98 of 269 PageID #: 139
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 99 of 269 PageID #: 140
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 100 of 269 PageID #: 141
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 101 of 269 PageID #: 142
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 102 of 269 PageID #: 143
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 103 of 269 PageID #: 144
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 104 of 269 PageID #: 145
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 105 of 269 PageID #: 146
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 106 of 269 PageID #: 147
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 107 of 269 PageID #: 148
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 108 of 269 PageID #: 149
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 109 of 269 PageID #: 150
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 110 of 269 PageID #: 151
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 111 of 269 PageID #: 152
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 112 of 269 PageID #: 153
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 113 of 269 PageID #: 154
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 114 of 269 PageID #: 155
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 115 of 269 PageID #: 156
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 116 of 269 PageID #: 157
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 117 of 269 PageID #: 158
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 118 of 269 PageID #: 159
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 119 of 269 PageID #: 160
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 120 of 269 PageID #: 161
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 121 of 269 PageID #: 162
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 122 of 269 PageID #: 163
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 123 of 269 PageID #: 164
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 124 of 269 PageID #: 165
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 125 of 269 PageID #: 166
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 126 of 269 PageID #: 167
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 127 of 269 PageID #: 168
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 128 of 269 PageID #: 169
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 129 of 269 PageID #: 170
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 130 of 269 PageID #: 171
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 131 of 269 PageID #: 172
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 132 of 269 PageID #: 173
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 133 of 269 PageID #: 174
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 134 of 269 PageID #: 175
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 135 of 269 PageID #: 176
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 136 of 269 PageID #: 177
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 137 of 269 PageID #: 178
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 138 of 269 PageID #: 179
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 139 of 269 PageID #: 180
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 140 of 269 PageID #: 181
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 141 of 269 PageID #: 182
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 142 of 269 PageID #: 183
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 143 of 269 PageID #: 184
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 144 of 269 PageID #: 185
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 145 of 269 PageID #: 186
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 146 of 269 PageID #: 187
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 147 of 269 PageID #: 188
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 148 of 269 PageID #: 189
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 149 of 269 PageID #: 190
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 150 of 269 PageID #: 191
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 151 of 269 PageID #: 192
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 152 of 269 PageID #: 193
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 153 of 269 PageID #: 194
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 154 of 269 PageID #: 195
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 155 of 269 PageID #: 196
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 156 of 269 PageID #: 197
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 157 of 269 PageID #: 198
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 158 of 269 PageID #: 199
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 159 of 269 PageID #: 200
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 160 of 269 PageID #: 201
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 161 of 269 PageID #: 202
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 162 of 269 PageID #: 203
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 163 of 269 PageID #: 204
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 164 of 269 PageID #: 205
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 165 of 269 PageID #: 206
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 166 of 269 PageID #: 207
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 167 of 269 PageID #: 208
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 168 of 269 PageID #: 209
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 169 of 269 PageID #: 210
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 170 of 269 PageID #: 211
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 171 of 269 PageID #: 212
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 172 of 269 PageID #: 213
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 173 of 269 PageID #: 214
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 174 of 269 PageID #: 215
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 175 of 269 PageID #: 216
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 176 of 269 PageID #: 217
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 177 of 269 PageID #: 218
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 178 of 269 PageID #: 219
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 179 of 269 PageID #: 220
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 180 of 269 PageID #: 221
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 181 of 269 PageID #: 222
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 182 of 269 PageID #: 223
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 183 of 269 PageID #: 224
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 184 of 269 PageID #: 225
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 185 of 269 PageID #: 226
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 186 of 269 PageID #: 227
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 187 of 269 PageID #: 228
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 188 of 269 PageID #: 229
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 189 of 269 PageID #: 230
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 190 of 269 PageID #: 231
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 191 of 269 PageID #: 232
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 192 of 269 PageID #: 233
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 193 of 269 PageID #: 234
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 194 of 269 PageID #: 235
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 195 of 269 PageID #: 236
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 196 of 269 PageID #: 237
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 197 of 269 PageID #: 238
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 198 of 269 PageID #: 239
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 199 of 269 PageID #: 240
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 200 of 269 PageID #: 241
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 201 of 269 PageID #: 242
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 202 of 269 PageID #: 243
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 203 of 269 PageID #: 244
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 204 of 269 PageID #: 245
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 205 of 269 PageID #: 246
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 206 of 269 PageID #: 247
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 207 of 269 PageID #: 248
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 208 of 269 PageID #: 249
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 209 of 269 PageID #: 250
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 210 of 269 PageID #: 251
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 211 of 269 PageID #: 252
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 212 of 269 PageID #: 253
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 213 of 269 PageID #: 254
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 214 of 269 PageID #: 255
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 215 of 269 PageID #: 256
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 216 of 269 PageID #: 257
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 217 of 269 PageID #: 258
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 218 of 269 PageID #: 259
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 219 of 269 PageID #: 260
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 220 of 269 PageID #: 261
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 221 of 269 PageID #: 262
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 222 of 269 PageID #: 263
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 223 of 269 PageID #: 264
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 224 of 269 PageID #: 265
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 225 of 269 PageID #: 266
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 226 of 269 PageID #: 267
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 227 of 269 PageID #: 268
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 228 of 269 PageID #: 269
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 229 of 269 PageID #: 270
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 230 of 269 PageID #: 271
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 231 of 269 PageID #: 272
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 232 of 269 PageID #: 273
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 233 of 269 PageID #: 274
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 234 of 269 PageID #: 275
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 235 of 269 PageID #: 276
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 236 of 269 PageID #: 277
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 237 of 269 PageID #: 278
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 238 of 269 PageID #: 279
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 239 of 269 PageID #: 280
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 240 of 269 PageID #: 281
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 241 of 269 PageID #: 282
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 242 of 269 PageID #: 283
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 243 of 269 PageID #: 284
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 244 of 269 PageID #: 285
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 245 of 269 PageID #: 286
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 246 of 269 PageID #: 287
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 247 of 269 PageID #: 288
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 248 of 269 PageID #: 289
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 249 of 269 PageID #: 290
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 250 of 269 PageID #: 291
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 251 of 269 PageID #: 292
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 252 of 269 PageID #: 293
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 253 of 269 PageID #: 294
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 254 of 269 PageID #: 295
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 255 of 269 PageID #: 296
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 256 of 269 PageID #: 297
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 257 of 269 PageID #: 298
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 258 of 269 PageID #: 299
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 259 of 269 PageID #: 300
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 260 of 269 PageID #: 301
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 261 of 269 PageID #: 302
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 262 of 269 PageID #: 303
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 263 of 269 PageID #: 304
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 264 of 269 PageID #: 305
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 265 of 269 PageID #: 306
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 266 of 269 PageID #: 307
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 267 of 269 PageID #: 308
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 268 of 269 PageID #: 309
Case: 4:23-cv-00813-HEA Doc. #: 10 Filed: 10/06/23 Page: 269 of 269 PageID #: 310
